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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISON


JILL BABCOCK, et al.,

               Plaintiffs,                             Case No. 22-cv-12951

v.                                                     HON. MARK A. GOLDSMITH

STATE OF MICHIGAN, et al.,

            Defendants.
______________________________________/

                      ORDER FOLLOWING STATUS CONFERENCE

       As discussed during the April 17, 2023 status conference, counsel for the parties must

determine immediately whether the facilitator they have proposed is available to take on this

matter. If so, counsel for the parties must promptly arrange to meet with the facilitator to discuss

an approach for accomplishing facilitation in a prompt fashion. If the facilitator is not available,

counsel must inform the Court of that fact and propose an alternate facilitator by April 21, 2023.

If no alternate facilitator is proposed, the Court will appoint a facilitator of its own choosing.

       Counsel must also confer and consider how facilitation will impact, if at all, the proposed

schedule set out in their discovery plan (Dkt. 32). The Court’s current intention is to adopt the

schedule proposed in the discovery plan unless persuaded otherwise.             The Court’s current

expectation is that within 90 days a settlement in principle can be reached, if not in all details then

at least as to principles, modalities, or formulas that will be made applicable to all structures.




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       The Court will hold a status conference by Zoom on May 4, 2023 at 9:30 a.m. The parties

must file a joint statement summarizing the initial results of their conference with the facilitator

and the expected impact, if any, of facilitation on their proposed schedule by 10:00 a.m. on May

3, 2023.

       SO ORDERED.

Dated: April 19, 2023                                s/Mark A. Goldsmith
       Detroit, Michigan                             MARK A. GOLDSMITH
                                                     United States District Judge




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